Arrests/Booked and Released/Citations

 

 

 

Joanna Geisler
DOB: 8/8/95

 

Milwaukee Alliance Against Racist and

Political Repression
Charge/Offense: Fail to Obey Lawful
Order

 

 

William Schroeder
DOB: 2/19/97

Milwaukee Alliance Against Racist and
Political Repression
Charge/Offense: Blocking Traffic

 

 

Anne
DeLassio-Parson
DOB: 1/25/84

Charge/Offense: Curfew

 

 

  

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DEFS' RPD 022461
Arrests /Booked and Released/Citations

 

 

 

Elizabeth Ebner Mary Rinnert Choke Moore
DOB:11/11/77 DOB: 9/2/83 DOB: 4/8/99
Charge/Offense: Curfew The People’s Revolution The People’s Revolution

Charge/Offense: Curfew / Refusing to | Charge/Offense: Curfew
Leave when Instructed

DEFS' RPD 022462

 

 

 

 

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Arrests/Booked and Released/Citations

 

 

 

Breon Foster

   

Ashlee Hirth |[ "HB Rich" Luis

DOB: 3/5/98 |f DOB:2/5/00 Alpizar Pichardo

The People’es DOB: 10/10/97

Charge/Offense: Curfew Charge/Offense: State resist causing BLM
injury (victim: Det. Keck). Curfew Charge/Offense: Curfew and resisting

Possession of riotous materials
wearing goggles, latex gloves, lighter
fluid in backpack

DEFS' RPD 022463

 

 

 

 

 

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Arrests/Booked and Released/Citations

 

 

 

 

   

Jacqueline
Katelyn Wojnar Bogenberger Gabriella Vitucci
DOB: 12/1/97 DOB: 5/9/91 a DOB:8/8/00
TPR TPR TPR

Charge/Offense: Curfew / Resisting Charge/Offense: Curfew / Resisting Charge/Offense: Curfew / Resisting

 

 

 

 

DEFS' RPD 022464

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Arrests /Booked and Released/Citations

 

 

  

 
    
       

Angel |

Raine Cich Vega-Anguiano Cheryll

 

DOB: 5/17/01 DOB: 12/22/90 Handley-Beck
TPR TPR DOB: 11/2/56
Charge/Offense: Curfew / Resisting Charge/Offense: Curfew / Resisting Charge/Offense: Misdemeanor Hold

"Medic"

 

 

 

DEFS' RPD 022465

 

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Arrests/Booked and Released/Citations

 

 

 

James Beck Danladi Reed-Taylor Carnell Taylor
DOB: 4/24/48 DOB: 2/1/98 DOB: 8/23/01

  

Charge/Offense: Misdemeanor Hold Charge/Offense: Curfew Violation Charge/Offense: Curfew Violation

 

 

DEFS' RPD 022466

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Arrests /Booked and Released/Citations

 

 

  

~ Triston Brown Dimarious Reed Chloe Moore

y ha DOB: JUVENILE | Saez DOB: JUVENILE DOB:4/8/99

TPR
Charge/Offense: Curfew violation Charge/Offense: Curfew violation Charge/Offense: Curfew violation

 

 

 

 

 

DEFS' RPD 022467

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Cont'd.

Arrests/Booked and Released/Citations

 

 

 

Ryan Reitinger
DOB: 3/18/93

Charge/Offense: Curfew/Resisting

 

‘N

Charge/Offense: Curfew violation

 

Marlyn
Morris Johnson
DOB: 4/25/02

 

 

Lazarito Matheu
DOB:12/21/87

Charge/Offense: Curfew violation

 

 

 

 

   

DEFS' RPD 022468

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Cont'd.

Arrests /Booked and Released/Citations

 

 

Hector Rodriguez
DOB: 12/12/86

 

Charge/Offense: Curfew violation

 

 

William Rivera
DOB: 3/3/95

Charge/Offense: Curfew violation

 

Aidali Rivera
DOB: 1/14/77

Charge/Offense: Curfew violation

 

 

 

 

      

DEFS' RPD 022469

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Cont'd.

Arrests/Booked and Released/Citations

 

 

Stephanie
Deanna Neal Hippolyte
DOB DOB: 5/9/91

Charge/Offense: Eluding Charge/Offense: Eluding
Taken to CJF

 

 

 

 

DEFS' RPD 022470

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